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                     1   LILIT ASADOURIAN (SBN 208801)
                         lilit.asadourian@btlaw.com
                     2   JOSEPH M. WAHL (SBN 281920)
                         joseph.wahl@btlaw.com
                     3   BARNES & THORNBURG LLP
                         2029 Century Park East, Suite 300
                     4   Los Angeles, California 90067
                         Telephone: (310) 284-3880
                     5   Facsimile: (310) 284-3894

                     6   Attorneys for Non-Party
                         ERNST & YOUNG LLP
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                     8                                    UNITED STATES DISTRICT COURT
                     9                              NORTHERN DISTRICT OF CALIFORNIA
                    10                                         OAKLAND DIVISION
                    11

                    12   PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
                         themselves and all others similarly situated,
                    13                                                   NON-PARTY ERNST & YOUNG LLP’S
                                            Plaintiffs,                  CERTIFICATION OF PRODUCTION
                    14
                         v.
                    15
                         GOOGLE LLC,
                    16
                                            Defendant.
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   B ARNES &
T HORNBURG LLP                                                                        CERTIFICATION OF PRODUCTION
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                     1            TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                     2            Ernst & Young LLP (“E&Y”) hereby certifies that that on March 16, 2022, in accordance

                     3   with this Court’s order dated March 14, 2022 (Dkt. #558), E&Y produced the 6,232 documents

                     4   that had been previously slipsheeted as required by that order. With this production, E&Y

                     5   certifies that it has now produced to Plaintiffs’ counsel all 6,322 documents which E&Y

                     6   identified as responsive. The filing of this certification serves as E&Y’s final obligation under

                     7   that order.

                     8
                         Dated:         March 16, 2022                        BARNES & THORNBURG LLP
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                                                                              By:/s/ Joseph M. Wahl
                    11                                                           Lilit Asadourian
                                                                                 Joseph M. Wahl
                    12                                                           Attorneys for Non-Party
                                                                                 ERNST & YOUNG LLP
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